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  7
                              UNITED STATES DISTRICT COURT
  8
                            CENTRAL DISTRICT OF CALIFORNIA
  9

 10        NANA AKUA SERWAAH ODDEI,
           an individual, on behalf of all other      Case No. 2:21-cv-03974-SB-MRWx
 11        similarly situated
 12                    Plaintiff,                      STIPULATED PROTECTIVE
                                                       ORDER
 13               v.
                                                       ☐ Check if submitted without
 14        OPTUM, INC., a Delaware                     material modifications to MRW form
           corporation, HEALTHCARE
 15        PARTNERS MEDICAL GROUP,
           P.C., a California corporation,
 16        SCANSTAT TECHNOLOGIES,
           LLC, a Delaware limited liability
 17        company; and DOES 1 through 20
           inclusive,
 18
                       Defendants.
 19

 20

 21   1.       INTRODUCTION
 22            1.1     PURPOSES AND LIMITATIONS
 23            Discovery in this action is likely to involve production of confidential,
 24   proprietary, or private information for which special protection from public
 25   disclosure and from use for any purpose other than prosecuting this litigation may
 26   be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
 27   enter the following Stipulated Protective Order. The parties acknowledge that this
 28   Order does not confer blanket protections on all disclosures or responses to
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  1   discovery and that the protection it affords from public disclosure and use extends
  2   only to the limited information or items that are entitled to confidential treatment
  3   under the applicable legal principles. The parties further acknowledge, as set forth
  4   in Section 12.3, below, that this Stipulated Protective Order does not entitle them to
  5   file confidential information under seal; Civil Local Rule 79-5 sets forth the
  6   procedures that must be followed and the standards that will be applied when a party
  7   seeks permission from the court to file material under seal. This Stipulated
  8   Protective Order shall apply to all “protected health information,” as that term is
  9   defined under the Health Insurance Portability and Accountability Act (“HIPAA”),
 10   produced or used by a party or a covered entity (as defined by 45 C.F.R. § 160.103)
 11   in this litigation.
 12          1.2    GOOD CAUSE STATEMENT
 13          This action is likely to involve confidential, individually-identifiable, private,
 14   and/or protected health information, for which special protection from public
 15   disclosure and from use for any purpose other than prosecution of this action is
 16   warranted. Such confidential and proprietary materials consist of, among other
 17   things, “protected health information,” as that term is defined under HIPAA, which
 18   may be privileged or otherwise protected from disclosure under state or federal
 19   statutes, court rules, case decisions, or common law. This action is also likely to
 20   involve private, confidential, and commercially sensitive materials that the corporate
 21   party(ies) consider(s) to be proprietary and/or potentially at risk of use for a
 22   competitive advantage if publicly disclosed. Accordingly, to expedite the flow of
 23   information, to facilitate the prompt resolution of disputes over confidentiality of
 24   discovery materials, to protect adequately information the parties are entitled to keep
 25   confidential, to ensure that the parties are permitted reasonable necessary uses of
 26   such material in preparation for and in the conduct of trial, to address their handling
 27   at the end of the litigation, and serve the ends of justice, a protective order for such
 28   information is justified in this matter. It is the intent of the parties that information
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  1   will not be designated as confidential for tactical reasons and that nothing be so
  2   designated without a good faith belief that it has been maintained in a confidential,
  3   non-public manner, and there is good cause why it should not be part of the public
  4   record of this case.
  5

  6   2.     DEFINITIONS
  7          2.1    Action: the above captioned pending federal lawsuit.
  8          2.2    Challenging Party: a Party or Non-Party that challenges the
  9   designation of information or items under this Order.
 10          2.3    “CONFIDENTIAL” Information or Items: information (regardless of
 11   how it is generated, stored or maintained) or tangible things that qualify for
 12   protection under Federal Rule of Civil Procedure 26(c), and as specified above in
 13   the Good Cause Statement.
 14          2.4    Counsel: Outside Counsel of Record and House Counsel (as well as
 15   their support staff).
 16          2.5    Designating Party: a Party or Non-Party that designates information or
 17   items that it produces in disclosures or in responses to discovery as
 18   “CONFIDENTIAL.”
 19          2.6    Disclosure or Discovery Material: all items or information, regardless
 20   of the medium or manner in which it is generated, stored, or maintained (including,
 21   among other things, testimony, transcripts, and tangible things), that are produced or
 22   generated in disclosures or responses to discovery in this matter.
 23          2.7    Expert: a person with specialized knowledge or experience in a matter
 24   pertinent to the litigation who has been designated or retained by a Party or its
 25   counsel to serve as an expert witness or as a consultant in this Action.
 26          2.8    House Counsel: attorneys who are employees of a party to this Action.
 27   House Counsel does not include Outside Counsel of Record or any other outside
 28   counsel.
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  1         2.9    Non-Party: any natural person, partnership, corporation, association, or
  2   other legal entity not named as a Party to this action.
  3         2.10 Outside Counsel of Record: attorneys who are not employees of a
  4   party to this Action but are retained to represent or advise a party to this Action and
  5   have appeared in this Action on behalf of that party or are affiliated with a law firm
  6   which has appeared on behalf of that party, and includes support staff.
  7         2.11 Party: any party to this Action, including all of its officers, directors,
  8   employees, consultants, retained experts, insurers, and Outside Counsel of Record
  9   (and their support staffs).
 10         2.12 Producing Party: a Party or Non-Party that produces Disclosure or
 11   Discovery Material in this Action.
 12         2.13 Professional Vendors: persons or entities that provide litigation
 13   support services (e.g., photocopying, videotaping, translating, stenography,
 14   preparing exhibits or demonstrations, and organizing, storing, or retrieving data in
 15   any form or medium) and their employees and subcontractors.
 16         2.14 Protected Material: any Disclosure or Discovery Material that is
 17   designated as “CONFIDENTIAL.”
 18         2.15 Receiving Party: a Party that receives Disclosure or Discovery
 19   Material from a Producing Party.
 20

 21   3.    SCOPE
 22         The protections conferred by this Stipulation and Order cover not only
 23   Protected Material (as defined above), but also (1) any information copied or
 24   extracted from Protected Material; (2) all copies, excerpts, summaries, or
 25   compilations of Protected Material; and (3) any testimony, conversations, or
 26   presentations by Parties or their Counsel that might reveal Protected Material.
 27         Any use of Protected Material at trial will be governed by the orders of the
 28   trial judge. This Order does not govern the use of Protected Material at trial.
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  2   4.    DURATION
  3         Even after final disposition of this litigation, the confidentiality obligations
  4   imposed by this Order will remain in effect until a Designating Party agrees
  5   otherwise in writing or a court order otherwise directs. Final disposition will be
  6   deemed to be the later of (1) dismissal of all claims and defenses in this Action, with
  7   or without prejudice; and (2) final judgment herein after the completion and
  8   exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
  9   including the time limits for filing any motions or applications for extension of time
 10   pursuant to applicable law.
 11

 12   5.    DESIGNATING PROTECTED MATERIAL
 13         5.1    Exercise of Restraint and Care in Designating Material for Protection.
 14   Each Party or Non-Party that designates information or items for protection under
 15   this Order must take care to limit any such designation to specific material that
 16   qualifies under the appropriate standards. The Designating Party must designate for
 17   protection only those parts of material, documents, items, or oral or written
 18   communications that qualify so that other portions of the material, documents,
 19   items, or communications for which protection is not warranted are not swept
 20   unjustifiably within the ambit of this Order.
 21         Mass, indiscriminate, or routinized designations are prohibited. Designations
 22   that are shown to be clearly unjustified or that have been made for an improper
 23   purpose (e.g., to unnecessarily encumber the case development process or to impose
 24   unnecessary expenses and burdens on other parties) may expose the Designating
 25   Party to sanctions.
 26         If it comes to a Designating Party’s attention that information or items that it
 27   designated for protection do not qualify for protection, that Designating Party must
 28   promptly notify all other Parties that it is withdrawing the inapplicable designation.
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  1         5.2    Manner and Timing of Designations. Except as otherwise provided in
  2   this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
  3   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
  4   under this Order must be clearly so designated before the material is disclosed or
  5   produced.
  6         Designation in conformity with this Order requires:
  7         (a) for information in documentary form (e.g., paper or electronic documents,
  8   but excluding transcripts of depositions or other pretrial or trial proceedings), that
  9   the Producing Party affix at a minimum, the legend “CONFIDENTIAL” (hereinafter
 10   “CONFIDENTIAL legend”), to each page that contains protected material. If only a
 11   portion or portions of the material on a page qualifies for protection, the Producing
 12   Party also must clearly identify the protected portion(s) (e.g., by making appropriate
 13   markings in the margins).
 14         A Party or Non-Party that makes original documents available for inspection
 15   need not designate them for protection until after the inspecting Party has indicated
 16   which documents it would like copied and produced. During the inspection and
 17   before the designation, all of the material made available for inspection will be
 18   deemed “CONFIDENTIAL.” After the inspecting Party has identified the
 19   documents it wants copied and produced, the Producing Party must determine which
 20   documents, or portions thereof, qualify for protection under this Order. Then, before
 21   producing the specified documents, the Producing Party must affix the
 22   “CONFIDENTIAL legend” to each page that contains Protected Material. If only a
 23   portion or portions of the material on a page qualifies for protection, the Producing
 24   Party also must clearly identify the protected portion(s) (e.g., by making appropriate
 25   markings in the margins).
 26         (b) for testimony given in depositions that the Designating Party identify the
 27   Disclosure or Discovery Material on the record, or, within 30 days following receipt
 28   of the transcript. Pages of transcribed deposition testimony or exhibits to
                                                  6
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  1   depositions that reveal Protected Material may be separately bound by the court
  2   reporter and may not be disclosed to anyone except as permitted under this
  3   Stipulated Protective Order.
  4             (c) for information produced in some form other than documentary and for
  5   any other tangible items, that the Producing Party affix in a prominent place on the
  6   exterior of the container or containers in which the information is stored the legend
  7   “CONFIDENTIAL.” If only a portion or portions of the information warrants
  8   protection, the Producing Party, to the extent practicable, will identify the protected
  9   portion(s).
 10             5.3   Inadvertent Failures to Designate. If timely corrected, an inadvertent
 11   failure to designate qualified information or items does not, standing alone, waive
 12   the Designating Party’s right to secure protection under this Order for such material.
 13   Upon timely correction of a designation, the Receiving Party must make reasonable
 14   efforts to assure that the material is treated in accordance with the provisions of this
 15   Order.
 16
 17   6.        CHALLENGING CONFIDENTIALITY DESIGNATIONS
 18             6.1   Timing of Challenges. Any Party or Non-Party may challenge a
 19   designation of confidentiality at any time that is consistent with the Court’s
 20   Scheduling Order.
 21             6.2   Meet and Confer. The Challenging Party will initiate the dispute
 22   resolution process (and, if necessary, file a discovery motion) under Local Rule 37.1
 23   et seq.
 24             6.3   The burden of persuasion in any such challenge proceeding will be on
 25   the Designating Party. Frivolous challenges, and those made for an improper
 26   purpose (e.g., to harass or impose unnecessary expenses and burdens on other
 27   parties) may expose the Challenging Party to sanctions. Unless the Designating
 28   Party has waived or withdrawn the confidentiality designation, all parties will
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  1   continue to afford the material in question the level of protection to which it is
  2   entitled under the Producing Party’s designation until the Court rules on the
  3   challenge.
  4

  5   7.    ACCESS TO AND USE OF PROTECTED MATERIAL
  6         7.1      Basic Principles. A Receiving Party may use Protected Material that is
  7   disclosed or produced by another Party or by a Non-Party in connection with this
  8   Action only for prosecuting, defending, or attempting to settle this Action. Such
  9   Protected Material may be disclosed only to the categories of persons and under the
 10   conditions described in this Order. When the Action has been terminated, a
 11   Receiving Party must comply with the provisions of section 13 below (FINAL
 12   DISPOSITION).
 13         Protected Material must be stored and maintained by a Receiving Party at a
 14   location and in a secure manner.
 15         7.2      Disclosure of “CONFIDENTIAL” Information or Items. Unless
 16   otherwise ordered by the court or permitted in writing by the Designating Party, a
 17   Receiving Party may disclose any information or item designated
 18   “CONFIDENTIAL” only to:
 19               (a) the Receiving Party’s Outside Counsel of Record in this Action, as
 20   well as employees of said Outside Counsel of Record to whom it is reasonably
 21   necessary to disclose the information for this Action;
 22               (b) the officers, directors, insurers, and employees (including House
 23   Counsel) of the Receiving Party to whom disclosure is reasonably necessary for this
 24   Action;
 25               (c) Experts (as defined in this Order) of the Receiving Party to whom
 26   disclosure is reasonably necessary for this Action and who have signed the
 27   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 28               (d) the Court and its personnel;
                                                     8
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  1             (e) court reporters and their staff;
  2             (f) professional jury or trial consultants, mock jurors, and Professional
  3   Vendors to whom disclosure is reasonably necessary for this Action and who have
  4   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  5             (g) the author or recipient of a document containing the information or a
  6   custodian or other person who otherwise possessed or knew the information; and
  7             (h) during their depositions, witnesses and attorneys for such witnesses, in
  8   the Action to whom disclosure is reasonably necessary provided: (1) the deposing
  9   party requests that the witness sign the form attached as Exhibit A hereto; and (2)
 10   they will not be permitted to keep any confidential information, unless otherwise
 11   agreed by the Designating Party or ordered by the court; and
 12             (i) any mediator or settlement officer, and their supporting personnel,
 13   mutually agreed upon by any of the parties engaged in settlement discussions.
 14

 15   8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
 16   IN OTHER LITIGATION
 17         If a Party is served with a subpoena or a court order issued in other litigation
 18   that compels disclosure of any information or items designated in this Action as
 19   “CONFIDENTIAL,” that Party must:
 20             (a) promptly notify in writing the Designating Party. Such notification
 21   will include a copy of the subpoena or court order;
 22             (b) promptly notify in writing the party who caused the subpoena or order
 23   to issue in the other litigation that some or all of the material covered by the
 24   subpoena or order is subject to this Protective Order. Such notification will include
 25   a copy of this Stipulated Protective Order; and
 26             (c) cooperate with respect to all reasonable procedures sought to be
 27   pursued by the Designating Party whose Protected Material may be affected.
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  1          If the Designating Party timely seeks a protective order, the Party served with
  2    the subpoena or court order will not produce any information designated in this
  3    action as “CONFIDENTIAL” before a determination by the court from which the
  4    subpoena or order issued, unless the Party has obtained the Designating Party’s
  5    permission. The Designating Party will bear the burden and expense of seeking
  6    protection in that court of its confidential material and nothing in these provisions
  7    should be construed as authorizing or encouraging a Receiving Party in this Action
  8    to disobey a lawful directive from another court.
  9

 10    9.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
 11    PRODUCED IN THIS LITIGATION
 12              (a) The terms of this Order are applicable to information produced by a
 13    Non-Party in this Action and designated as “CONFIDENTIAL.” Such information
 14    produced by Non-Parties in connection with this litigation is protected by the
 15    remedies and relief provided by this Order. Nothing in these provisions should be
 16    construed as prohibiting a Non-Party from seeking additional protections.
 17              (b) In the event that a Party is required, by a valid discovery request, to
 18    produce a Non-Party’s confidential information in its possession, and the Party is
 19    subject to an agreement with the Non-Party not to produce the Non-Party’s
 20    confidential information, then the Party will:
 21                 (1) promptly notify in writing the Requesting Party and the Non-Party
 22    that some or all of the information requested is subject to a confidentiality
 23    agreement with a Non-Party;
 24                 (2) promptly provide the Non-Party with a copy of the Stipulated
 25    Protective Order in this Action, the relevant discovery request(s), and a reasonably
 26    specific description of the information requested; and
 27                 (3) make the information requested available for inspection by the
 28    Non-Party, if requested.
                                                  10
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  1              (c) If the Non-Party fails to seek a protective order from this court within
  2    14 days of receiving the notice and accompanying information, the Receiving Party
  3    may produce the Non-Party’s confidential information responsive to the discovery
  4    request. If the Non-Party timely seeks a protective order, the Receiving Party will
  5    not produce any information in its possession or control that is subject to the
  6    confidentiality agreement with the Non-Party before a determination by the court.
  7    Absent a court order to the contrary, the Non-Party will bear the burden and expense
  8    of seeking protection in this court of its Protected Material.
  9

 10    10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
 11          If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
 12    Protected Material to any person or in any circumstance not authorized under this
 13    Stipulated Protective Order, the Receiving Party must immediately (a) notify in
 14    writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
 15    to retrieve all unauthorized copies of the Protected Material, (c) inform the person or
 16    persons to whom unauthorized disclosures were made of all the terms of this Order,
 17    and (d) request such person or persons to execute the “Acknowledgment and
 18    Agreement to Be Bound” that is attached hereto as Exhibit A.
 19

 20    11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
 21    PROTECTED MATERIAL
 22          When a Producing Party gives notice to Receiving Parties that certain
 23    inadvertently produced material is subject to a claim of privilege or other protection,
 24    the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
 25    Procedure 26(b)(5)(B). This provision is not intended to modify whatever
 26    procedure may be established in an e-discovery order that provides for production
 27    without prior privilege review. Pursuant to Federal Rule of Evidence 502(d) and
 28    (e), insofar as the parties reach an agreement on the effect of disclosure of a
                                                  11
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  1    communication or information covered by the attorney-client privilege or work
  2    product protection, the parties may incorporate their agreement in the stipulated
  3    protective order submitted to the court.
  4

  5    12.   MISCELLANEOUS
  6          12.1 Right to Further Relief. Nothing in this Order abridges the right of any
  7    person to seek its modification by the Court in the future.
  8          12.2 Right to Assert Other Objections. By stipulating to the entry of this
  9    Protective Order no Party waives any right it otherwise would have to object to
 10    disclosing or producing any information or item on any ground not addressed in this
 11    Stipulated Protective Order. Similarly, no Party waives any right to object on any
 12    ground to use in evidence of any of the material covered by this Protective Order.
 13          12.3 Filing Protected Material. A Party that seeks to file under seal any
 14    Protected Material must comply with Civil Local Rule 79-5. Protected Material may
 15    only be filed under seal pursuant to a court order authorizing the sealing of the
 16    specific Protected Material at issue. If a Party's request to file Protected Material
 17    under seal is denied by the court, then the Receiving Party may file the information
 18    in the public record unless otherwise instructed by the court.
 19

 20    13.   FINAL DISPOSITION
 21          After the final disposition of this Action, as defined in paragraph 4, within 60
 22    days of a written request by the Designating Party, each Receiving Party must return
 23    all Protected Material to the Producing Party or destroy such material. As used in
 24    this subdivision, “all Protected Material” includes all copies, abstracts, compilations,
 25    summaries, and any other format reproducing or capturing any of the Protected
 26    Material. Whether the Protected Material is returned or destroyed, the Receiving
 27    Party must submit a written certification to the Producing Party (and, if not the same
 28    person or entity, to the Designating Party) by the 60 day deadline that (1) identifies
                                                  12
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  1    (by category, where appropriate) all the Protected Material that was returned or
  2    destroyed and (2) affirms that the Receiving Party has not retained any copies,
  3    abstracts, compilations, summaries or any other format reproducing or capturing any
  4    of the Protected Material. Notwithstanding this provision, Counsel are entitled to
  5    retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing
  6    transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert
  7    reports, attorney work product, and consultant and expert work product, even if such
  8    materials contain Protected Material. Any such archival copies that contain or
  9    constitute Protected Material remain subject to this Protective Order as set forth in
 10    Section 4 (DURATION).
 11

 12    14.   Any willful violation of this Order may be punished by civil or criminal
 13    contempt proceedings, financial or evidentiary sanctions, reference to disciplinary
 14    authorities, or other appropriate action at the discretion of the Court, after notice and
 15    an opportunity to be heard.
 16
 17    IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
 18    Dated: October 25, 2021                   PIMENTEL LAW, P.C.
 19

 20                                             By: /s/ Bruce T. Murray
                                                   Gabriel J. Pimentel
 21                                                Bruce T. Murray
 22                                                 Attorneys for Plaintiff Nana Akua
                                                    Serwaah Oddei
 23

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  1
       Dated: October 25, 2021            GORDON REES SCULLY
  2                                       MANSUKHANI, LLP
  3

  4                                       By:/s/ Kimberly D. Howatt
                                             Kimberly D. Howatt
  5                                          Timothy A. Hanna
  6                                           Attorneys for Defendant ScanSTAT
                                              Technologies, LLC
  7

  8

  9

 10    FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
 11

 12

 13           
       DATED:_______________                __________________________________
 14                                         HON. MICHAEL R. WILNER
                                            United States Magistrate Judge
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  1                                         EXHIBIT A
  2              ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
  3

  4          I, _____________________________ [full name], of _________________
  5    [full address], declare under penalty of perjury that I have read in its entirety and
  6    understand the Stipulated Protective Order that was issued by the United States
  7    District Court for the Central District of California on [date] in the case of Nana
  8    Akua Serwaah Oddei v. Optum, Inc., et al., C.D. Cal. Case No. 2:21-cv-03974-SB-
  9    MRW. I agree to comply with and to be bound by all the terms of this Stipulated
 10    Protective Order and I understand and acknowledge that failure to so comply could
 11    expose me to sanctions and punishment in the nature of contempt. I solemnly
 12    promise that I will not disclose in any manner any information or item that is subject
 13    to this Stipulated Protective Order to any person or entity except in strict compliance
 14    with the provisions of this Order.
 15          I further agree to submit to the jurisdiction of the United States District Court
 16    for the Central District of California for the purpose of enforcing the terms of this
 17    Stipulated Protective Order, even if such enforcement proceedings occur after
 18    termination of this action. I hereby appoint __________________________ [full
 19    name] of _______________________________________ [full address and
 20    telephone number] as my California agent for service of process in connection with
 21    this action or any proceedings related to enforcement of this Stipulated Protective
 22    Order.
 23    Date: ______________________________________
 24    City and State where signed: _________________________________
 25

 26    Printed name: _______________________________
 27

 28    Signature: __________________________________
                                                  15
